           Case 2:07-cr-00314-KJM Document 140 Filed 09/09/11 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KYLE REARDON
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               ) 2:07-CR-314 LKK
                                             )
12                Plaintiff,                 )
                                             )
13        v.                                 ) ORDER CONTINUING STATUS
                                             ) CONFERENCE
14   JOSE LUIS MORALES,                      )
     JUAN MORALES,                           )
15   ENRIQUE MORALES,                        )
     TERESA MARIA MORALES                    )
16   PETRA PRECIADO MORALES,                 )
                                             )
17                Defendants.

18
                                       ORDER
19
          The parties appeared before the Court on Wednesday,
20
     September 7, 2011, in case number 2:07-CR-314 LKK.         At that time,
21
     based upon the representations and agreement of all counsel, the
22
     Court ordered that the status conference and changes of plea set
23
     for Wednesday, September 7, 2011, at 9:15 a.m., be continued to
24
     Tuesday, September 20, 2011, at 9:15 a.m., and that the time
25
     beginning September 7, 2011, and extending through September 20,
26
     2011, was excluded from the calculation of time under the Speedy
27
     Trial Act.    The exclusion of time is appropriate due to defense
28

                                         1
           Case 2:07-cr-00314-KJM Document 140 Filed 09/09/11 Page 2 of 2


 1   counsel’s need to prepare.     The additional time is necessary to
 2   ensure defense counsel’s effective preparation, taking into
 3   account the exercise of due diligence.       18 U.S.C. §
 4   3161(h)(7)(B)(iv); Local Code T4.
 5        ACCORDINGLY, it is hereby ordered that the status conference
 6   set for September 7, 2011, at 9:15 a.m., be continued to
 7   September 20, 2011, at 9:15 a.m., and that the time beginning
 8   September 7, 2011, and extending through September 20, 2011, be
 9   excluded from the calculation of time under the Speedy Trial Act.
10   The Court finds that the interests of justice served by granting
11   this continuance outweigh the best interests of the public and
12   the defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
13
14   IT IS SO ORDERED.
15
16   Dated: September 9, 2011
17
18
19
20
21
22
23
24
25
26
27
28
                                       2                Order After Hearing
                                                    U.S. v. Morales, et al.
                                                               2:07-314 LKK
